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                                              August 17, 2006

    The Hon. Michael Davis
    United States District Court Judge
    c.o. Office of the Clerk of Court
    Second Floor
    United States District Court
    300 South Fourth Street
    Minneapolis, Minnesota 55415

               Re:       Bradley v. Dresel

    Dear Judge Davis:

            As you know, this matter is set for an evidentiary default hearing on September
    13, 2006. I have been made aware of an Order that was filed on or about July 26, 2006
    which required me to serve notice upon Buster McClaury, the party who is in default,
    within five days of the Order. I regret to advise that the order did not come through on
    our computer system. I also want to point out that this “glitch” is, I suspect, the fault of
    my computer system and staff, and is not in any way an error on the part of the court staff
    or personnel. In any event, I have not as of this date served notice upon Mr. McClaury.
    I am certainly prepared to expedite said notice by express-mailing my motion papers to
    Mr. McClaury’s last known address forthwith, if that would suffice. I would also like to
    point out that under Rule 55, this is not a situation that would appear to require notice to
    the defaulting party, because that party has not appeared in this action at any point in
    time, and has never filed a responsive pleading or any other document at any stage of
    these proceedings. The relevant portion of the Rule provides that if the party against
    whom judgment by default is sought has appeared in the action, the party “shall be served
    with written notice of the application for default at least three days” prior to the hearing.
    Notice does not appear to be required where the party has not appeared, even if, as in this
    case, a hearing on “general damages” is required. That, at least, is my reading of Rule
    55 as it applies to this case.
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         Again, I regret that this problem has arisen, and I apologize for any inconvenience
it has caused. I will await instructions from the court as to how to further proceed. I will
certainly understand if the Court feels the matter needs to be adjourned.

                                                     Respectfully,

                                                     William L. Norine

cc:    Michael D. Carr, Esq.
       James J. Ranheim, Esq.
